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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:16CR331

       vs.
                                                                        ORDER
BERNARDO WILLIAMS-JAUREGUI,

                       Defendant.

       This matter is before the court on defendant's Motion to Extend Date to File Pretrial
Motions [136]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 21-day extension. Pretrial motions shall be filed by July 27, 2017.
       IT IS ORDERED:
       1.      Defendant's Motion to Extend Date to File Pretrial Motions [136] is granted.
Pretrial motions shall be filed on or before July 27, 2017.
       2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P.
and NE. Crim. R. 12.1 forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between July 7, 2017 and July 27, 2017 shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 7th day of July, 2017.

                                                      BY THE COURT:


                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
